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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No. 2:20-cv-5517-DSF (MAR)                                              Date: October 18, 2021
 Title:      Daria C. Jiles v. Andrew Saul

 Present: The Honorable: MARGO A. ROCCONI, UNITED STATES MAGISTRATE JUDGE
                    Erica Bustos                                              N/A
                    Deputy Clerk                                    Court Reporter / Recorder

        Attorneys Present for Petitioner:   Attorneys Present for Defendants:
                     N/A                                  N/A
 Proceedings: (In Chambers) ORDER TO SHOW CAUSE RE: FAILURE TO FILE
              JOINT SUBMISSION

          On June 22, 2020, Daria C. Jiles (“Plaintiff”), proceeding with counsel, filed a Complaint
 pursuant to 42 U.S.C. § 405 (“section 405”) seeking review of a decision by the Commissioner of
 Social Security to deny benefits. ECF Docket No. (“Dkt.”) 1. On July 10, 2020, the Court issued an
 “Order re: Procedures in Social Security Appeal” (“Procedures Order”). Dkt. 5. The Procedures
 Order stated that the government should file a Joint Submission within ninety-one (91) days of the
 filing of the Certified Administrative Record and Answer. Id. at 1–2.

        On July 2, 2021, Defendant filed an Answer and the Certified Administrative Record. Dkts.
 14–15. Accordingly, pursuant to the Procedures Order, the Joint Submission was due by October 1,
 2021. See Dkt. 5 at 1–2. To date, Defendant has not filed a Joint Submission.

        Accordingly, Defendant is ordered to show cause in writing within fourteen (14) days of
 this Order why they have failed to respond. The Court will consider any of the following two (2)
 options to be an appropriate response to this Order:
          (1) Defendant shall file a Joint Submission as described in the Procedures Order, Dkt. 5; or
          (2) Defendant shall provide the Court with an explanation as to why they have failed to file
              the Joint Submission and request an extension.

        Defendant is cautioned failure to timely respond to this Order may result in entry of
 default, pursuant to Federal Rule of Civil Procedure 55(a).

          IT IS SO ORDERED.


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                                                                      Initials of Preparer        eb




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